           Case 2:11-cr-00076-JAM Document 24 Filed 04/01/11 Page 1 of 3


1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    DOUGLAS BEEVERS, USVI Bar #766
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    CRESCENIO DELGADO-ESQUIVEL
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. CR-S-11-00076-LKK
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND ORDER TO CONTINUE
13        v.                         )     DETENTION HEARING
                                     )
14   CRESCENCIO DELGADO-ESQUIVEL,    )
     et al.,                         )     Date: April 4, 2011
15                                   )     Time: 2:00 p.m.
                    Defendants.      )     Judge: Hon. Gregory G. Hollows
16                                   )
     _______________________________ )
17
          IT IS HEREBY STIPULATED between the parties, SAMUEL WONG, Assistant
18
     United States Attorney; DOUGLAS BEEVERS, Assistant Federal Defender,
19
     attorney for defendant CRESCENCIO DELGADO-ESQUIVEL; that the Detention
20
     Hearing of March 31, 2011 at 2:00 p.m., be vacated, and the matter be set
21
     for detention hearing on April 4, 2011 at 2:00 p.m.
22
          The reason for the continuance to allow Pre-Trial additional time to
23
     prepare the report. The parties agree a continuance is necessary for
24
     these purposes, and agree to exclude time under the Speedy Trial Act
25
     accordingly.
26
          IT IS STIPULATED that the period from the date of the parties’
27
     stipulation, March 31, 2011 and up to and including the April 4, 2011
28
           Case 2:11-cr-00076-JAM Document 24 Filed 04/01/11 Page 2 of 3


1    detention hearing, shall be excluded in computing the time within which
2    trial of this matter must be commenced under the Speedy Trial Act,
3    pursuant to 18 U.S.C §3161(h)(7)(A) and (B)(iv) and Local Code and T4
4    (ongoing preparation of defense counsel).
5    Dated: March 31, 2011                    Respectfully submitted,
6                                             DANIEL BRODERICK
                                              Federal Defender
7
                                              /s/ Doug Beevers
8                                             DOUG BEEVERS
                                              Assistant Federal Defender
9                                             Attorney for Defendant
                                              CRESCENCIO DELGADO-ESQUIVEL
10
11
     Dated: March 31, 2011                    BENJAMIN B. WAGNER
12                                            United States Attorney
13                                            /s/ Samuel Wong
                                              SAMUEL WONG
14                                            Assistant U.S. Attorney
                                              Attorney for Plaintiff
15
16
                                            ORDER
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          UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
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     ordered that the detention hearing presently set for March 31, 2011, be
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     continued to April 4, 2011, at 2:00 p.m. Based on the representation of
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     defense counsel and good cause appearing therefrom, the Court hereby
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     finds that it is unreasonable to expect adequate preparation for pretrial
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     proceedings and trial itself within the time limits established in 18
23
     U.S.C. § 3161, the requested continuance is necessary to provide defense
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     counsel reasonable time necessary for effective preparation, taking into
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     account the exercise of due diligence. The Court finds the ends of
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     justice   to   be   served   by   granting    a   continuance   outweigh   the   best
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     interests of the public and the defendants in a speedy trial.
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     Stip and Order                          -2-
           Case 2:11-cr-00076-JAM Document 24 Filed 04/01/11 Page 3 of 3


1         It is ordered that time from the date of the parties’ stipulation,
2    March 31, 2011, up to and including, the April 4, 2011 detention hearing
3    shall be excluded from computation of time within which the trial of this
4    matter must be commenced under the Speedy Trial Act pursuant to 18 U.S.C.
5    §3161(h)(7)(A) and (B)(iv) and Local Code T4 (allow defense counsel
6    reasonable time to prepare).
7    Dated: April 1, 2011
8
9                                            /s/ Gregory G. Hollows
                                            Hon. Gregory G. Hollows
10                                          United States Magistrate Judge
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     Stip and Order                        -3-
